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          Attachment A
     to the Court’s Amended Final Judgment
                    and Order
       CFPB v. Global Financial Support, Inc.,
              15-cv-2440-GPC-AHG


      Sworn Financial Disclosure Forms for
      Individual and Corporate Defendants
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                                          Bureau of Consumer Financial Protection

                          FINANCIAL DISCLOSURE FORM FOR INDIVIDUAL DEFENDANT

Instructions:

1       Complete all items. Enter “None” or “N/A” (“Not Applicable”) where appropriate. If you cannot fully answer a
question, explain why.
2       “Dependents” include your live-in companion, dependent children, or any other person, whom you or your spouse (or
your children’s other parent) claimed or could have claimed as a dependent for tax purposes at any time during the past five
years.
3       “Assets” and “Liabilities” include ALL assets and liabilities, located within the United States or elsewhere, whether held
individually or jointly.
4       Attach continuation pages as needed. On the financial disclosure form, state next to the Item number that the Item is
being continued. On the continuation page(s), identify the Item number(s) being continued.
5       Type or print legibly.
6       Initial each page in the space provided in the lower right corner.
7       Sign and date the completed financial disclosure form on the last page.



Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person in any:

(a) “matter within the jurisdiction of the executive, legislative, or judicial branch of the Government of the United States,
knowingly and willfully (1) falsifies, conceals or covers up by any trick, scheme, or device a material fact; (2) makes any false,
fictitious or fraudulent statement or representation; or (3) makes or uses any false writing or document knowing the same to
contain any false, fictitious or fraudulent statement or entry” (18 U.S.C. § 1001);
(2) “statement under penalty of perjury as permitted under section 1746 of title 28, United States Code, willfully subscribes as
true any material matter which he does not believe to be true” (18 U.S.C. § 1621); or
(3) “(...statement under penalty of perjury as permitted under section 1746 of title 28, United States Code) in any proceeding
before or ancillary to any court or grand jury of the United States knowingly makes any false material declaration or makes or
uses any other information...knowing the same to contain any false material declaration.” (18 U.S.C. § 1623)

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the greater of
(i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any person or
pecuniary loss to any person other than the defendant, the greater of twice the gross gain or loss. 18 U.S.C. § 3571.
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                                            BACKGROUND INFORMATION


Item 1. Information About You

Your Full Name ______________________________________________ Social Security No. ___________________

Place of Birth _________________________ Date of Birth _______________ Drivers License No. _______________

Current Address ______________________________________________________ From (Date) _________________

Rent or Own? _________ Telephone No. _________________________ Facsimile No. _________________________

E-Mail Address _____________________________________ Internet Home Page ____________________________

Previous Addresses for past five years:

Address___________________________________________ Rent or Own?________ From/Until_________________

Address___________________________________________ Rent or Own?________ From/Until_________________

Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they were

used________________________________________________________________________________________

Marital Status: ______________________ (i.e., Married, Single, Divorced, Widowed, Separated)

Item 2. Information About Your Spouse or Live-In Companion

Spouse/Companion's Name _____________________________________ Social Security No. ___________________

Place of Birth _________________________________________ Date of Birth _______________________________

Identify any other name(s) and/or social security number(s) your spouse/companion has used, and the time period(s) during

which they were used ________________________________________________________________________

Address (if different from yours) _____________________________________________________________________

From (Date) _________________________ Rent or Own?___________ Telephone No._________________________

Employer’s Name and Address ______________________________________________________________________

Job Title _______________________ Years in Present Job _________ Annual Gross Salary/Wages $______________


Item 3. Information About Your Previous Spouse

Previous Spouse’s Name & Address __________________________________________________________________

___________________________________ Social Security No. _________________ Date of Birth _______________



2                                                                                           Initials _____
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Item 4. Contact Information

Name & Address of Nearest Living Relative or Friend ___________________________________________________

____________________________________________________________ Telephone No. ______________________

Item 5. Information About Dependents Who Live With You

Name ______________________________________________ Date of Birth ________________________________

Relationship _________________________________________ Social Security No. ____________________________

Name ______________________________________________ Date of Birth ________________________________

Relationship _________________________________________ Social Security No. ____________________________

Name ______________________________________________ Date of Birth ________________________________

Relationship _________________________________________ Social Security No. ____________________________

Item 6. Information About Dependents Who Do Not Live With You

Name & Address ________________________________________________________________________________

Date of Birth __________________ Relationship ____________________ Social Security No.___________________

Name Address __________________________________________________________________________________

Date of Birth __________________ Relationship ____________________ Social Security No.__________________

Name & Address ________________________________________________________________________________

Date of Birth __________________ Relationship ____________________ Social Security No.__________________

Item 7. Employment Information

Provide the following information for this year-to-date and for each of the previous five full years, for each company of which
you were a director, officer, employee, agent, contractor, participant or consultant at any time during that period. “Income”
includes, but is not limited to, any salary, commissions, draws, consulting fees, loans, loan payments, dividends, royalties or
other benefits for which you did not pay (e.g., health insurance premiums, automobile lease or loan payments) received by you
or anyone else on your behalf.

Company Name & Address ________________________________________________________________________

Dates Employed: From (Month/Year) ________________________ To (Month/Year) _________________________

Positions Held with Beginning and Ending Dates ________________________________________________________

Income Received: This year-to-date:     $______________________ _______: $______________________

                        20_____:        $______________________ _______: $______________________

                        _______:        $______________________ _______: $______________________

3                                                                                             Initials _____
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Company Name & Address ________________________________________________________________________

Dates Employed: From (Month/Year) ________________________ To (Month/Year) _________________________

Positions Held with Beginning and Ending Dates ________________________________________________________

Income Received: This year-to-date:      $______________________ _______: $______________________

                        20_____:         $______________________ _______: $______________________

                        _______:         $______________________ _______: $______________________

Company Name & Address ________________________________________________________________________

Dates Employed: From (Month/Year) ________________________ To (Month/Year) _________________________

Positions Held with Beginning and Ending Dates ________________________________________________________

Income Received: This year-to-date:      $______________________ _______: $______________________

                        20_____:         $______________________ _______: $______________________

                        _______:         $______________________ _______: $______________________

Item 8. Pending Lawsuits Filed by You or Your Spouse

List all pending lawsuits that have been filed by you or your spouse in court or before an administrative agency.
(List lawsuits that resulted in final judgments or settlements in Items 16 and 25).

Opposing Party’s Name & Address ___________________________________________________________________

Court’s Name & Address ___________________________________________________________________________

Docket No. _________________ Relief Requested ____________________ Nature of Lawsuit ___________________

____________________________________ Status ______________________________________________________

Item 9. Pending Lawsuits Filed Against You or Your Spouse

List all pending lawsuits that have been filed against you or your spouse in court or before an administrative agency.
(List lawsuits that resulted in final judgments or settlements in Items 16 and 25).

Opposing Party’s Name & Address ___________________________________________________________________

Court’s Name & Address ___________________________________________________________________________

Docket No. _________________ Relief Requested ____________________ Nature of Lawsuit ___________________

____________________________________ Status ______________________________________________________




4                                                                                              Initials _____
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Item 10. Safe Deposit Boxes

List all safe deposit boxes, located within the United States or elsewhere, held by you, your spouse, or any of your dependents,
or held by others for the benefit of you, your spouse, or any of your dependents. On a separate page, describe the contents of
each box.

Owner’s Name             Name & Address of Depository Institution                                 Box No.
________________         _______________________________________________                   ________________________

_______________          ____________________________________________                      ______________________

Item 11. Business Interests

List all businesses for which you, your spouse, or your dependents are an officer or director.

Business’ Name & Address ________________________________________________________________________

Business Format (e.g., corporation) __________________________ Description of Business _____________________

______________________________ Position(s) Held, and By Whom _______________________________________

Business’ Name & Address ________________________________________________________________________

Business Format (e.g., corporation) __________________________ Description of Business _____________________

______________________________ Position(s) Held, and By Whom _______________________________________

Business’ Name & Address ________________________________________________________________________

Business Format (e.g., corporation) __________________________ Description of Business _____________________

______________________________ Position(s) Held, and By Whom _______________________________________




5                                                                                                Initials _____
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                                FINANCIAL INFORMATION: ASSETS AND LIABILITIES

REMINDER: “Assets” and “Liabilities” include ALL assets and liabilities, located within the United States or elsewhere,
whether held individually or jointly.

Item 12. Cash, Bank, and Money Market Accounts

List cash and all bank and money market accounts, including but not limited to, checking accounts, savings accounts, and
certificates of deposit, held by you, your spouse, or your dependents, or held by others for the benefit of you, your spouse, or
your dependents. The term “cash” includes currency and uncashed checks.

Cash on Hand $____________________________ Cash Held For Your Benefit $____________________________

Name on Account          Name & Address of Financial Institution                    Account No.                  Current Balance

_________________ __________________________________________________ _______________ $__________

_________________ __________________________________________________ _______________ $__________

_________________ __________________________________________________ _______________ $__________

_________________ __________________________________________________ _______________ $__________

_________________ __________________________________________________ _______________ $__________

_________________ __________________________________________________ _______________ $__________


Item 13. U.S. Government Securities

List all U.S. Government securities, including but not limited to, savings bonds, treasury bills, and treasury notes, held by you,
your spouse, or your dependents, or held by others for the benefit of you, your spouse, or your dependents.

Name on Account     Type of Obligation                             Security Amount                  Maturity Date
____________________ ________________________                      $________________                _____________

___________________ ________________________                       $________________                _____________

___________________ _________________________                      $________________                _____________

Item 14. Publicly Traded Securities and Loans Secured by Them

List all publicly traded securities, including but not limited to, stocks, stock options, registered and bearer bonds, state
and municipal bonds, and mutual funds, held by you, your spouse, or your dependents, or held by others for the
benefit of you, your spouse, or your dependents.

Issuer _______________________________ Type of Security __________________ No. of Units Owned ________

Name on Security _________________ Current Fair Market Value $______ Loan(s) Against Security $__________

Broker House, Address _____________________________________________ Broker Account No. ____________


6                                                                                               Initials _____
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Item 15. Other Business Interests

List all other business interests, including but not limited to, non-public corporations, subchapter-S corporations,
limited liability corporations (“LLCs”), general or limited partnership interests, joint ventures, sole proprietorships,
and oil and mineral leases, held by you, your spouse, or your dependents, or held by others for the benefit of you,
your spouse, or your dependents.

Business Format _____________________________ Business’ Name & Address____________________________

_________________________________________________________________________ Ownership % ________

Owner (e.g., self, spouse) ________________________________ Current Fair Market Value $_________________


Item 16. Monetary Judgments or Settlements Owed to You, Your Spouse, or Your Dependents

List all monetary judgments or settlements owed to you, your spouse, or your dependents.

Opposing Party’s Name & Address__________________________________________________________________

Court’s Name & Address __________________________________________________

Docket No. _______________ Nature of Lawsuit ______________________________

Date of Judgment _______________ Amount $____________

Item 17. Other Amounts Owed to You, Your Spouse, or Your Dependents

List all other amounts owed to you, your spouse, or your dependents.

Debtor’s Name, Address, & Telephone No. _________________________________________________________

Original Amount Owed $_____________ Current Amount Owed $____________ Monthly Payment $____________

Item 18. Life Insurance Policies

List all life insurance policies held by you, your spouse, or your dependents.

Insurance Company’s Name, Address, & Telephone No._________________________________________________

Insured ________________________ Beneficiary _______________________ Face Value $___________________

Policy No. _________________ Loans Against Policy $________________ Surrender Value $_________________

Insurance Company’s Name, Address, & Telephone No.________________________________________________

Insured ________________________ Beneficiary _______________________ Face Value $___________________

Policy No. _________________ Loans Against Policy $________________ Surrender Value $__________________
7                                                                                        Initials _____
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Item 19. Deferred Income Arrangements

List all deferred income arrangements, including but not limited to, deferred annuities, pensions plans, profit-sharing
plans, 401(k) plans, IRAs, Keoghs, and other retirement accounts, held by you, your spouse, or your dependents, or
held by others for the benefit of you, your spouse, or your dependents.

Name on Account _________________________ Type of Plan ___________________ Date Established _________

Trustee or Administrator’s Name, Address & Telephone No.______________________________________________

Account No. ______________________ Surrender Value $___________________


Name on Account _________________________ Type of Plan ___________________ Date Established__________

Trustee or Administrator’s Name, Address & Telephone No.______________________________________________

Account No. ______________________ Surrender Value $___________________

Item 20. Personal Property

List all personal property, by category, whether held for personal use or for investment, including but not limited to,
furniture and household goods of value, computer equipment, electronics, coins, stamps, artwork, gemstones, jewelry,
bullion, other collectibles, copyrights, patents, and other intellectual property, held by you, your spouse, or your
dependents, or held by others for the benefit of you, your spouse, or your dependents.

Property Category             Name of Owner                  Property Location      Acquisition         Current
(e.g., artwork, jewelry)                                                            Cost                Value
___________________           __________________             _______________        $_________          $________

___________________           __________________             _______________        $_________          $________

___________________           __________________             _______________        $_________          $________

___________________           __________________             _______________        $_________          $________

___________________           __________________             _______________        $_________          $________

Item 21. Cars, Trucks, Motorcycles, Boats, Airplanes, and Other Vehicles

List all cars, trucks, motorcycles, boats, airplanes, and other vehicles owned or operated by you, your spouse, or your
dependents, or held by others for the benefit of you, your spouse, or your dependents.

Vehicle Type __________________ Make ____________________ Model ______________________ Year_______

Registered Owner’s Name __________________________ Registration State & No.__________________________

Address of Vehicle’s Location _____________________________________________________________________

8                                                                                      Initials _____
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                                           34



Purchase Price $_______________Current Value $_______________ Account/Loan No._______________________

Lender’s Name and Address_______________________________________________________________________

Original Loan Amount $______________ Current Loan Balance $______________ Monthly Payment $_________

Mileage ________________ Current condition of car ________________________ Purchase date ______________


Vehicle Type __________________ Make ____________________ Model ______________________ Year ______

Registered Owner’s Name __________________________ Registration State & No. _________________________

Address of Vehicle’s Location _____________________________________________________________________

Purchase Price $_______________Current Value $_______________ Account/Loan No._______________________

Lender’s Name and Address_______________________________________________________________________

Original Loan Amount $______________ Current Loan Balance $______________ Monthly Payment $_________

Mileage ________________ Current condition of car ________________________ Purchase date ______________

Item 22. Real Property

List all real estate held by you, your spouse, or your dependents, or held by others for the benefit of you, your spouse,
or your dependents.

Type of Property________________________________ Property’s Location_______________________________

Name(s) on Title and Ownership Percentages__________________________________________________________

Acquisition Date________________ Purchase Price $____________________ Current Value $_________________

Basis of Valuation_______________________________________ Loan or Account No._______________________

Lender’s Name and Address_______________________________________________________________________

Current Balance On First Mortgage $__________________ Monthly Payment $__________

Other Loan(s) (describe)_________________________________________ Current Balance $_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent Received $___________

Type of Property________________________________ Property’s Location_______________________________

Name(s) on Title and Ownership Percentages__________________________________________________________

Acquisition Date________________ Purchase Price $____________________ Current Value $_________________
9                                                                                       Initials _____
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                                           34




Basis of Valuation_______________________________________ Loan or Account No._______________________

Lender’s Name and Address_______________________________________________________________________

Current Balance On First Mortgage $__________________ Monthly Payment $__________

Other Loan(s) (describe)_________________________________________ Current Balance $_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent Received $___________

Item 23. Other Assets

List all other assets not identified above, held by you, your spouse, or your dependents, including but not limited to,
patents, and other intellectual property, and cryptocurrency and other virtual currencies.

Description                        Location                                            Acquisition Current
                                                                                       Cost        Value
____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

Item 24. Credit Cards

List each credit card held by you, your spouse, or your dependents. Also list any other credit cards that you, your
spouse, or your dependents use.

Name of Credit Card (e.g., Visa,      Account No.            Name(s) on      Current        Minimum
MasterCard, Department Store)                                Account         Balance        Monthly Payment

_______________________ __________________ _________________ $____________ $________________

_______________________ __________________ _________________ $____________ $________________

_______________________ __________________ _________________ $____________ $________________

_______________________ __________________ _________________ $____________ $________________

_______________________ __________________ _________________ $____________ $________________

_______________________ __________________ _________________ $____________ $________________

Item 25. Taxes Payable

10                                                                                      Initials _____
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                                           34



List all taxes, such as income taxes or real estate taxes, owed by you, your spouse, or your dependants.

Type of Tax                   Amount Owed                    Year Incurred
_______________________________ $__________________________ ___________________

_______________________________ $__________________________ ___________________

_______________________________ $__________________________ ___________________

_______________________________ $__________________________ ___________________

Item 26. Judgments or Settlements Owed

List all judgments or settlements owed by you, your spouse, or your dependents.

Opposing Party’s Name & Address__________________________________________________________________

Court’s Name & Address____________________________________________________

Docket No._____________ Nature of Lawsuit_______________________________________

Date______________ Amount $______________


Item 27. Other Loans and Liabilities

List all other loans or liabilities in your, your spouse’s, or your dependents’ names.

Name & Address of Lender/Creditor ________________________________________________________________

Nature of Liability___________________________________ Name(s) on Liability__________________________

Date of Liability___________________ Amount Borrowed $________________ Current Balance $______________

Payment Amount $_____________________ Frequency of Payment_____________________

Name & Address of Lender/Creditor ________________________________________________________________

Nature of Liability_____________________________________ Name(s) on Liability_________________________

Date of Liability___________________ Amount Borrowed $________________ Current Balance $______________

Payment Amount $_____________________ Frequency of Payment_____________________




11                                                                                       Initials _____
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                                           34



                                     OTHER FINANCIAL INFORMATION

Item 28. Tax Returns

List all federal tax returns that were filed during the last three years by or on behalf of you, your spouse, or your
dependents. Provide a copy of each signed tax return that was filed during the last three years, including amendments
(if any).

Tax Year           Name(s) on Return                                     Refund Expected
___________ ____________________________________________________________ $_______________

___________ ____________________________________________________________ $_______________

___________ ____________________________________________________________ $_______________




12                                                                                    Initials _____
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                                           34



Item 29. Applications for Credit

List all applications for bank loans or other extensions of credit that you, your spouse, or your dependents have
submitted within the last two years. Provide a copy of each application, including all attachments.

Name(s) on Application                Name & Address of Lender
________________________              ____________________________________________________________

________________________               ____________________________________________________________

Item 30. Trusts and Escrows

List all funds or other assets that are being held in trust or escrow by any person or entity for you, your spouse, or
your dependents. Also list all funds or other assets that are being held in trust or escrow by you, your spouse, or your
dependents, for any person or entity. Provide copies of all executed trust documents.

Trustee or Escrow Agent’s             Date           Grantor                 Beneficiaries               Present Market
Name & Address                        Established                                                        Value of Assets

______________________________ ______________ _________________ ______________ $______________

______________________________ ______________ _________________ ______________ $______________

______________________________ ______________ _________________ ______________ $______________

______________________________ ______________ _________________ ______________ $______________

______________________________ ______________ _________________ ______________ $______________

Item 31. Transfers of Assets

List each person to whom you have transferred, in the aggregate, more than $2,500 in funds or other assets during the
previous three years by loan, gift, sale, or other transfer. For each such person, state the total amount transferred
during that period.

Transferee’s Name, Address, & Relationship           Property        Aggregate      Transfer             Type of Transfer
                                                     Transferred     Value Date                          (e.g., Loan, Gift)

______________________________________ ________________ $____________ __________ _______________

______________________________________ ________________ $____________ __________ _______________

______________________________________ ________________ $____________ __________ _______________

______________________________________ ________________ $____________ __________ _______________

______________________________________ ________________ $____________ __________ _______________



13                                                                                      Initials _____
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                                            34


Item 32. Foreign Assets and Liabilities

In any location outside of the United States, do you, or your spouse, or your dependents have any of the following:

Do you, your spouse, or your dependents have, in any location outside of the United States, any assets not otherwise identified
in this disclosure (including, but not limited to real estate, bank accounts, investments, or other financial products)?

                                                                                                       Yes/No

Do you, your spouse or your dependents have, in any location outside of the United States, any liabilities not otherwise
identified in this disclosure (including, but not limited to liens, credit card debt or other financial obligations)?

                                                                                                       Yes/No

If yes, to any of the above, please separately list below each asset and liability category, their location, the acquisition cost and
current value. Please include a copy of all Reports of Foreign Bank and Financial Accounts (FBAR) filings.

Asset Category                      Asset Location                       Acquisition  Current
                                                                         Cost         Value
____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

Liability Category                  Liability Location                   Acquisition  Current
                                                                         Cost         Value
____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________


Item 33. Foreign Positions

Do you, your spouse, or your dependents hold any corporate office or partnership in any entity located outside the United
States? Yes/No

Are you, your spouse, or your dependents the trustee of any trust or similar entity outside the United States? Yes/No

If yes to any of the above, please separately list below the name of the entity or trust, the country under which such entity or
trust is organized and your position with such entity or trust. Please include a copy of all organizing documents for each such
corporation, partnership or trust.

Name of Entity or Trust                   Country
________________________                  ____________________________________________________________

________________________                   ____________________________________________________________
14                                                                                                Initials _____
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                                            34


Item 34. Credit Report

Provide a copy of you and your spouse’s most recent credit report, within the last 60 days upon receipt of this form, from a
credit bureau.

                                        SUMMARY FINANCIAL SCHEDULES

Item 35. Combined Balance Sheet for You, Your Spouse, and Your Dependents

 ASSETS                                                           LIABILITIES
 Cash on Hand (Item 12)                                           Credit Cards (Item 23)

 Cash in Financial                                                Motor Vehicles - Liens
 Institutions (Item 12)                                           (Item 21)
 U.S. Government                                                  Real Property -
 Securities (Item 13)                                             Encumbrances (Item 22)
 Publicly Traded Securities                                       Loans Against Publicly
 (Item 14)                                                        Traded Securities (Item
                                                                  14)
 Other Business Interests                                         Taxes Payable (Item 24)
 (Item 15)
 Judgments or Settlements                                         Judgments or Settlements
 Owed to You (Item 16)                                            Owed (Item 25)
 Other Amounts Owed to
 You (Item 17)
 Surrender Value of Life                                          Other Loans and Liabilities
 Insurance (Item 18)                                              (Item 26)
 Deferred Income
 Arrangements (Item 19)
 Personal Property (Item                                          Other Liabilities (Itemize):
 20)

 Motor Vehicles (Item 21)

 Real Property (Item 22)



 Other Assets (Itemize):




15                                                                                            Initials _____
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                                             34



Item 36. Combined Average Monthly Income and Expenses for You, Your Spouse, and Your Dependents for
the Last 6 Months

Provide the average monthly income and expenses for you, your spouse, and your dependents for the last 6 months.
Do not include credit card payments separately; rather, include credit card expenditures in the appropriate categories.




     INCOME                                              EXPENSES
     Salary - After Taxes                $___________    Mortgage Payments for Residence(s)                 $___________
     Fees, Commissions, and              $___________                                                       $___________
                                                         Property Taxes for Residence(s)
     Royalties
                                                         Rental Property Expenses, Including
     Interest                            $___________    Mortgage Payments, Taxes, and Insurance            $___________
                                                         Car or Other Vehicle Lease or Loan
     Dividends and Capital Gains         $___________    Payments                                           $___________
     Gross Rental Income                 $___________    Food Expenses                                      $___________
     Profits from Sole Proprietorships   $___________    Clothing Expenses                                  $___________
     Distributions from Partnerships,
     S-Corporations, and LLCs            $___________    Utilities                                          $___________
     Distributions from Trusts and
     Estates                             $___________    Medical Expenses, Including Insurance              $___________
     Distributions from Deferred
     Income Arrangements                 $___________    Other Insurance Premiums                           $___________
     Social Security Payments            $___________    Other Transportation Expenses                      $___________
     Alimony/Child Support               $___________                                                       $___________
                                                         Other Household Expenses
     Received
     Gambling Income                     $___________    Other Expenses (Itemize)
     Other Income (Itemize)                              _________________________________                  $___________
     __________________________          $___________    _________________________________                  $___________
     __________________________          $___________    _________________________________                  $___________
     __________________________          $___________    _________________________________                  $___________
     Total Income                        $ ___________   Total Expenses                                     $___________




16                                                                                         Initials _____
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                                            34


                                                         ATTACHMENTS

Item 37. Documents Attached to this Financial Disclosure Form

Indicate whether the below documents are being submitted with the financial disclosure form.

Item No. Document        Description of Document
Relates To

Item 27.                 Tax Returns                                                                  Yes/No
Item 28.                 Applications of Credit                                                       Yes/No
Item 31.                 Reports of Foreign Bank & Financial Account Filings                          Yes/No
Item 32.                 Credit Report                                                                Yes/No

List any other documents and forms as well as the item number, in the financial form, the document relates to and a description of
the document.

Item No. Document                 Description of Document
Relates To
______________                    _______________________________________________________________________

______________                    _______________________________________________________________________

______________                    _______________________________________________________________________

______________                    _______________________________________________________________________

______________                    _______________________________________________________________________

______________                    _______________________________________________________________________

WARNING:
I am submitting this financial disclosure form with the understanding that it may affect action by the Bureau of Consumer
Financial Protection or a federal court. The responses I have provided to the items above are true and contain all the requested
facts and information of which I have notice or knowledge. I have provided all requested documents in my custody, possession, or
control. I further declare that I have no assets, owned either directly or indirectly (including owned by my spouse or dependents),
or income of any nature other than as shown in, or attached to, this statement. I understand that the Bureau of Consumer Financial
Protection is a federal agency and that this financial disclosure form is being submitted in connection with a matter within its
jurisdiction. I understand that a false, fictitious, or fraudulent statement or representation on this form, or the concealment of any
material fact is a violation of Federal law and could result in criminal prosecution, and significant civil penalties. I understand that
a false statement is punishable under 18 U.S.C. §§ 1001 and 3571 by imprisonment of not more than five years and/or a fine of up
to $250,000.

Executed on:
______________________                                              _________________________________
(Date)                                                              Signature




17                                                                                                Initials _____
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                                          34

                             BUREAU OF CONSUMER FINANCIAL PROTECTION
                       FINANCIAL DISCLOSURE FORM FOR CORPORATE DEFENDANT


Instructions:
1       Complete all items. Enter “None” or “N/A” (“Not Applicable”) where appropriate. If you cannot fully answer a
question, explain why.
2        In completing this financial disclosure form, “the corporation” refers not only to this corporation but also to each
of its predecessors that are not named defendants in this action.
3       When an Item asks for information about assets or liabilities “held by the corporation,” include ALL such assets
and liabilities, located within the United States or elsewhere, held by the corporation or held by others for the benefit of
the corporation.
4        Attach continuation pages as needed. On the financial disclosure form, state next to the Item number that the Item
is being continued. On the continuation page(s), identify the Item number being continued.

5       Type or print legibly.
6       The corporation’s Chief Executive Officer and its Chief Financial Officer (or their equivalents in a non-public
company or an entity without such named positions) must sign and date the completed financial disclosure form on the
last page and initial each page in the space provided in the lower right corner.



Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person in any:

(a) “matter within the jurisdiction of the executive, legislative, or judicial branch of the Government of the United States,
knowingly and willfully – (1) falsifies, conceals or covers up by any trick, scheme, or device a material fact; (2) makes
any false, fictitious or fraudulent statement or representation; or (3) makes or uses any false writing or document knowing
the same to contain any false, fictitious or fraudulent statement or entry” (18 U.S.C. § 1001);
(2) “statement under penalty of perjury as permitted under section 1746 of title 28, United States Code, willfully
subscribes as true any material matter which he does not believe to be true” (18 U.S.C. § 1621); or
(3) “(...statement under penalty of perjury as permitted under section 1746 of title 28, United States Code) in any
proceeding before or ancillary to any court or grand jury of the United States knowingly makes any false material
declaration or makes or uses any other information...knowing the same to contain any false material declaration.” (18
U.S.C. § 1623)

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or loss. 18 U.S.C. §
3571.
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                                          34
                                          BACKGROUND INFORMATION


Item 1. General Information

Corporation’s Full Name ___________________________________________________________________________

Primary Business Address ______________________________________________________ From (Date) _________

Telephone No. _____________________________ Fax No. _____________________________

E-Mail Address________________________ Internet Home Page________________________

All other current addresses & previous addresses for past five years, including post office boxes and mail drops:

Address____________________________________________________________ From/Until____________________

Address____________________________________________________________ From/Until____________________

Address____________________________________________________________ From/Until____________________

All predecessor companies for past five years:

Name & Address _________________________________________________________ From/Until ______________

Name & Address _________________________________________________________ From/Until ______________

Name & Address _________________________________________________________ From/Until ______________

Item 2. Legal Information

Federal Taxpayer ID No. _________________________ State & Date of Incorporation _________________________

State Tax ID No. ____________________ State ________________ Profit or Not For Profit _____________________

Corporation’s Present Status: Active ________________ Inactive _______________ Dissolved __________________

If dissolved: Date dissolved _________________________ By Whom ______________________________________

Reasons _________________________________________________________________________________________

Fiscal Year-End (Mo./Day) ________________ Corporation’s Business Activities _____________________________

Item 3. Registered Agent

Name of Registered Agent __________________________________________________________________________

Address __________________________________________________________ Telephone No. __________________




2                                                                                 Initials ______   ______
    Case 3:15-cv-02440-GPC-AHG Document 132-1 Filed 03/29/21 PageID.12376 Page 21 of
                                          34
Item 4. Principal Stockholders

List all persons and entities that own at least 5% of the corporation’s stock.

Name                             Address                                            % Owned

______________________           ___________________________________                __________

______________________           ___________________________________                __________

______________________           ___________________________________                __________

Item 5. Board Members

List all members of the corporation’s Board of Directors.

Name                             Address                                            % Owned           Term (From/Until)

______________________           ___________________________________                __________        __________

______________________           ___________________________________                __________        __________

______________________           ___________________________________                __________        __________

Item 6. Officers

List all of the corporation’s officers, including de facto officers (individuals with significant management responsibility
whose titles do not reflect the nature of their positions).

Name                             Address                                            % Owned

______________________           ___________________________________                __________

______________________           ___________________________________                __________

______________________           ___________________________________                __________

Item 7. Businesses Related to Corporation

List all corporations, partnerships, and other business entities in which this corporation has an ownership interest.

Name                             Address                                    Business Activities              % Owned
______________________           ___________________________                _____________ _________          __________

______________________           ___________________________                ______________________           __________

______________________           ___________________________                ______________________           __________

State which of these businesses, if any, has ever transacted business with the corporation _______________________




3                                                                                   Initials ______     ______
    Case 3:15-cv-02440-GPC-AHG Document 132-1 Filed 03/29/21 PageID.12377 Page 22 of
                                          34
Item 8. Businesses Related to Individuals

List all corporations, partnerships, and other business entities in which the corporation’s principal stockholders, board
members, or officers (i.e., the individuals listed in Items 4 - 6 above) have an ownership interest.

Individual’s Name                Business Name                     Address                      Business Activities     %
Owned
___________________              ___________________               _________________            ________________________

___________________              ____________________              _________________            ________________________

___________________              ____________________              _________________            ________________________

State which of these businesses, if any, have ever transacted business with the corporation _______________________

Item 9. Related Individuals

List all related individuals with whom the corporation has had any business transactions during the three previous fiscal
years and current fiscal year-to-date. A “related individual” is a spouse, sibling, parent, or child of the principal
stockholders, board members, and officers (i.e., the individuals listed in Items 4 - 6 above).

Name                             Address                                    Relationship                  Business Activities
______________________           ___________________________                _____________ ____            _________________

______________________           ___________________________                _________________             _________________

______________________           ___________________________                __________________ _________________

Item 10. Outside Accountants

List all outside accountants retained by the corporation during the last three years.

Name                             Firm Name                                  Address                              CPA/PA?
______________________           ___________________________                _____________ _________              __________

______________________           ___________________________                ______________________               __________

______________________           ___________________________                ______________________               __________

Item 11. Corporation’s Recordkeeping

List all individuals within the corporation with responsibility for keeping the corporation’s financial books and records for
the last three years.
Name                              Address                                   Telephone Number         Position(s) Held
______________________            ___________________________               _____________ ____ ________________

______________________           ___________________________                _____________ ____            ________________

______________________           ___________________________                _____________ ____            ________________




4                                                                                       Initials ______     ______
    Case 3:15-cv-02440-GPC-AHG Document 132-1 Filed 03/29/21 PageID.12378 Page 23 of
                                          34
Item 12. Attorneys

List all attorneys retained by the corporation during the last three years.
Name                               Firm Name                                       Address
______________________             ___________________________________             _________________________

______________________           ___________________________________               _________________________

______________________           ___________________________________               _________________________

Item 13. Pending Lawsuits Filed By Corporation

List all pending lawsuits that have been filed by the corporation in court or before an administrative agency.
(List lawsuits that resulted in final judgments or settlements in favor of the corporation in Item 25).

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

5                                                                                  Initials ______    ______
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                                          34

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Item 14. Current Lawsuits Filed Against Corporation

List all pending lawsuits that have been filed against the corporation in court or before an administrative agency.
(List lawsuits that resulted in final judgments, settlements, or orders in Items 26 - 27).

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________


6                                                                                  Initials ______    ______
    Case 3:15-cv-02440-GPC-AHG Document 132-1 Filed 03/29/21 PageID.12380 Page 25 of
                                          34
Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Item 15. Bankruptcy Information

List all state insolvency and federal bankruptcy proceedings involving the corporation.

Commencement Date _________________ Termination Date _________________ Docket No. __________________

If State Court: Court & County _______________________ If Federal Court: District __________________________

Disposition ______________________________________________________________________________________

Item 16. Safe Deposit Boxes

List all safe deposit boxes, located within the United States or elsewhere, held by the corporation, or held by others for the
benefit of the corporation. On a separate page, describe the contents of each box.

Owner’s Name                     Name and Address of Depository Institution         Box No.

______________________                    ___________________________________               __________

______________________                    ___________________________________               __________

______________________                    ___________________________________               __________




7                                                                                   Initials ______    ______
      Case 3:15-cv-02440-GPC-AHG Document 132-1 Filed 03/29/21 PageID.12381 Page 26 of
                                            34

                                               FINANCIAL INFORMATION

REMINDER: When an Item asks for information about assets or liabilities “held by the corporation,” include
ALL such assets and liabilities, located within the United States or elsewhere, held by the corporation or held by
others for the benefit of the corporation.


Item 17. Tax Returns

List all federal and state corporate tax returns filed for the last three complete fiscal years. Attach copies of all returns.

    Federal/State/Both Tax Year          Tax Due           Tax Paid          Tax Due          Tax Paid         Preparer’s
                                         Federal           Federal           State            State            Name




Item 18. Financial Statements

List all financial statements that were prepared for the corporation’s last three complete fiscal years and for the
current fiscal year-to-date. Attach copies of all statements, providing audited statements if available.

    Year              Balance Sheet        Profit and Loss       Cash Flow             Changes in           Audited?
                                           Statement             Statement             Owner’s Equity




8                                                                                      Initials ______    ______
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                                         34
Item 19. Financial Summary

For each of the last three complete fiscal years and for the current fiscal year-to-date for which the corporation
has not provided a profit and loss statement in accordance with Item 18 above, provide the following summary
financial information.
                          Current Year-to-       1 Year Ago             2 Years Ago            3 Years Ago
                          Date
  Gross Revenue           $                      $                      $                      $

    Expenses                $                       $                        $                         $

    Net Profit After        $                       $                        $                         $
    Taxes
    Payables                $

    Receivables             $


Item 20. Cash, Bank, and Money Market Accounts

List cash and all bank and money market accounts, including but not limited to, checking accounts, savings accounts, and
certificates of deposit, held by the corporation. The term “cash” includes currency and uncashed checks.

Cash on Hand $_________________________ Cash Held for the Corporation’s Benefit $_______________________

    Name & Address of            Signator(s) on Account          Account No.                    Current Balance
    Financial Institution
                                                                                                $

                                                                                                $

                                                                                                $


Item 21. Government Obligations and Publicly Traded Securities

List all U.S. Government obligations, including but not limited to, savings bonds, treasury bills, or treasury notes, held by
the corporation. Also list all publicly traded securities, including but not limited to, stocks, stock options, registered and
bearer bonds, state and municipal bonds, and mutual funds, held by the corporation.

Issuer _________________________________ Type of Security/Obligation __________________________________

No. of Units Owned __________ Current Fair Market Value $__________________ Maturity Date _______________

Issuer _________________________________ Type of Security/Obligation __________________________________

No. of Units Owned __________ Current Fair Market Value $__________________ Maturity Date _______________




9                                                                                   Initials ______     ______
     Case 3:15-cv-02440-GPC-AHG Document 132-1 Filed 03/29/21 PageID.12383 Page 28 of
                                           34

Item 22. Real Estate

List all real estate, including leaseholds in excess of five years, held by the corporation.

Type of Property________________________________ Property’s Location__________________________________

Name(s) on Title and Ownership Percentages___________________________________________________________

Current Value $____________________ Loan or Account No. __________________________

Lender’s Name and Address_________________________________________________________________________

Current Balance On First Mortgage $_______________ Monthly Payment $______________

Other Loan(s) (describe)____________________________________________ Current Balance $_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent Received $_____________

Type of Property________________________________ Property’s Location__________________________________

Name(s) on Title and Ownership Percentages___________________________________________________________

Current Value $____________________ Loan or Account No. __________________________

Lender’s Name and Address_________________________________________________________________________

Current Balance On First Mortgage $_______________ Monthly Payment $______________

Other Loan(s) (describe)____________________________________________ Current Balance $_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent Received $_____________

Item 23. Other Assets

List all other property, by category, with an estimated value of $2,500 or more, held by the corporation, including but not
limited to, inventory, machinery, equipment, furniture, vehicles, customer lists, computer software, patents, other
intellectual property, cryptocurrencies., and other virtual currencies.

Property Category                    Property Location                  Acquisition   Current
                                                                        Cost          Value
____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________




10                                                                                     Initials ______   ______
     Case 3:15-cv-02440-GPC-AHG Document 132-1 Filed 03/29/21 PageID.12384 Page 29 of
                                           34
Item 24. Trusts and Escrows

List all persons and other entities holding funds or other assets that are in escrow or in trust for the corporation.

Trustee or Escrow Agent’s                        Description and Location of Assets                      Present Market
Name & Address                                                                                           Value of Assets

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________


Item 25. Monetary Judgments and Settlements Owed To the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed to the corporation.

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Item 26. Monetary Judgments and Settlements Owed By the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed by the corporation.

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit_______________________________________ Date______________ Amount $______________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________


11                                                                                     Initials ______      ______
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                                           34
Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Item 27. Government Orders and Settlements

List all existing orders and settlements between the corporation and any federal or state government entities.

Name of Agency ___________________________________________ Contact Person __________________________

Address _____________________________________________________________ Telephone No. _______________

Agreement Date ______________ Nature of Agreement __________________________________________________

Item 28. Credit Cards

List all of the corporation’s credit cards and store charge accounts and the individuals authorized to use them.

Name of Credit Card or Store                              Names of Authorized Users and Positions Held

______________________________________                    __________________________________________

______________________________________                    __________________________________________

_____________________________________                     __________________________________________




12                                                                                   Initials ______    ______
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                                           34
Item 29. Compensation of Employees

List all compensation and other benefits received from the corporation by the five most highly compensated employees,
independent contractors, and consultants (other than those individuals listed in Items 5 and 6 above), for the two previous
fiscal years and current fiscal year-to-date. “Compensation” includes, but is not limited to, salaries, commissions,
consulting fees, bonuses, dividends, distributions, royalties, pensions, and profit sharing plans. “Other benefits” include,
but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to the
individuals, or paid to others on their behalf.

Name/Position                    Current Fiscal           1 Year Ago 2 Years Ago           Compensation or
                                 Year-to-Date                                              Type of Benefits

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

Item 30. Compensation of Board Members and Officers

List all compensation and other benefits received from the corporation by each person listed in Items 5 and 6, for the
current fiscal year-to-date and the two previous fiscal years. “Compensation” includes, but is not limited to, salaries,
commissions, consulting fees, dividends, distributions, royalties, pensions, and profit sharing plans. “Other benefits”
include, but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to
the individuals, or paid to others on their behalf.


Name/Position                    Current Fiscal           1 Year Ago 2 Years Ago           Compensation or
                                 Year-to-Date                                              Type of Benefits

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________




13                                                                                  Initials ______    ______
     Case 3:15-cv-02440-GPC-AHG Document 132-1 Filed 03/29/21 PageID.12387 Page 32 of
                                           34
Item 31. Transfers of Assets Including Cash and Property

List all transfers of assets over $2,500 made by the corporation, other than in the ordinary course of business, during the
previous three years, by loan, gift, sale, or other transfer.

Transferee’s Name, Address, & Relationship         Property              Aggregate       Transfer   Type of Transfer
                                                   Transferred           Value          Date      (e.g., Loan, Gift)

______________________________________ ________________ $____________ __________ _________________

______________________________________ ________________ $____________ __________ _________________

______________________________________ ________________ $____________ __________ _________________

______________________________________ ________________ $____________ __________ _________________

______________________________________ ________________ $____________ __________ _________________

Item 32. Foreign Assets and Liabilities

Does the corporation have, in any location outside of the United States, any assets not otherwise identified in this
disclosure (including but not limited to real estate, bank accounts, investments, or other financial products)?
                                                                                                                        Yes/No

Does the corporation have, in any location outside of the United States, any liabilities not otherwise identified in this
disclosure (including but not limited to liens, credit card debt, or other financial obligations)?
                                                                                                                       Yes/No

If yes, please separately list below each asset and liability category, their location, the acquisition cost and current value.
Please include a copy of all Reports of Foreign Bank and Financial Accounts (FBAR) filings.

Asset Category                       Asset Location                  Acquisition Current
                                                                             Cost      Value
____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

Liability Category                   Liability Location                   Acquisition Current
                                                                           Cost         Value
____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________




14                                                                                     Initials ______     ______
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                                           34

Item 33. Foreign Positions

Does the corporation hold any corporate office or partnership in any entity located outside the United States?        Yes/No
Is the corporation the trustee of any trust or similar entity outside the United States?                              Yes/No

If yes to any of the above, please separately list below the name of the entity or trust and the country under which such
entity or trust is located. Please include a copy of all organizing documents for each such corporation, partnership or trust.

Name of the Entity or Trust           Country
______________________________________ _______________________________________

______________________________________ _______________________________________

______________________________________ _______________________________________

______________________________________ _______________________________________


Item 34. Credit Report

Provide a copy of the corporation’s most recent credit report, within the last 60 days upon receipt of this form, from a
credit bureau.

Item 35. Documents Attached to Financial Disclosure Form

Indicate whether the below documents are being submitted with the financial disclosure form.

Item 17.                 Tax Returns                                                                    Yes/No
Item 18.                 Financial Statements                                                           Yes/No
Item 32.                 Reports of Foreign Bank & Financial Account Filings                            Yes/No
Item 33.                 Credit Report                                                                  Yes/No

List any other documents and forms as well as the item number, in the financial form, the document relates to and a
description of the document.

Item No. Document                Description of Document
Relates To
______________                   _______________________________________________________________________

______________                   _______________________________________________________________________

______________                   _______________________________________________________________________

______________                   _______________________________________________________________________

______________                   _______________________________________________________________________

______________                   _______________________________________________________________________




15                                                                                    Initials ______     ______
     Case 3:15-cv-02440-GPC-AHG Document 132-1 Filed 03/29/21 PageID.12389 Page 34 of
                                           34
WARNING:
“The Corporation” submits this financial disclosure form with the understanding that it may affect action by the Bureau of
Consumer Financial Protection or a federal court. The responses the Corporation has provided to the items above are true
and contain all the requested facts and information of which the Corporation has notice or knowledge. The Corporation
has provided all requested documents in its custody, possession, or control. The Corporation further declares that it has no
assets, owned either directly or indirectly, or income of any nature other than as shown in, or attached to, this statement.
The Corporation understands that the Bureau of Consumer Financial Protection is a federal agency and that this financial
disclosure form is being submitted in connection with a matter within its jurisdiction. The Corporation understands that a
false, fictitious, or fraudulent statement or representation on this form, or the concealment of any material fact is a
violation of Federal law and could result in criminal prosecution, and significant civil penalties. The Corporation
understands that a false statement is punishable under 18 U.S.C. §§ 1001 and 3571 by imprisonment of not more than five
years and/or a fine of up to $250,000.


Executed on:
______________________                                            _________________________________
(Date)                                                            Signature

                                                                  _________________________________
                                                                  [Name of Chief Executive Officer, Chief Executive
                                                                  Officer of [name of respondent/corporation]


Executed on:
______________________                                            _________________________________
(Date)                                                            Signature

                                                                  _________________________________
                                                                  [Name of Chief Financial Officer, Chief Financial
                                                                  Officer of [name of respondent/corporation]




16                                                                                  Initials ______    ______
